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              EXHIBIT R
     2021.09.28 Daily Mail Article
Boston Ballet's former star dancer is hit by FIFTH sex attack allegation | Daily Mail Online
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          Boston Ballet's former star dancer is hit by                                                                                                    Site   Web   Enter your search




          THREE new sex attack claims: Lawsuit                                                                                                        ADVERTISEMENT


          says ballerina pointed gun at underage girl
          while her husband raped her in weapon-
          filled room
             An expanded lawsuit was filed late last week adding three more alleged victims to the
             lawsuit which names Dusty Button and her husband Mitchell Taylor Button
             Among the new accusers is Jane Doe 100 who claims she was raped by Mitchell
             Dusty, Boston Ballet's former principal dancer, allegedly befriended the underage girl in
             2014 and introducing her to former principal dancer Mitchell  
             The couple then allegedly plied the girl with booze and took her back to their home where
             Mitchell allegedly raped her inside a gun-lined room
             Dusty was holding a gun and appeared to film the encounter, while the 'terrified' girl cried
             and begged for the abuse to stop, the suit claims
             This marks the fifth alleged victim to come forward to accuse the couple of using their
             position of power in the dance world to abuse young female dancers  
             The suit originally filed July 28 was brought by two professional dancers, Sage Humphries
             and Gina Menichino

          By RACHEL SHARP FOR DAILYMAIL.COM and SNEJANA FARBEROV FOR DAILYMAIL.COM
          PUBLISHED: 21:15 EST, 28 September 2021 | UPDATED: 06:46 EST, 29 September 2021


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          A star ballerina accused of helping her husband sexually abuse two underage girls is now facing                                             TOP STORIES
          similar claims from three other women, one of whom says the dancer menaced her with a gun                                                     First trans Congress
          during a violent rape.                                                                                                                      member is banned from
                                                                                                                                                      using women's bathrooms
                                                                                                                                                      in the House after
          An expanded lawsuit, filed late last week, accuses Dusty Button, Boston Ballet's former principal                                           Marjorie Taylor Greene
                                                                                                                                                      declared war
          dancer, of befriending the underage girl in 2014 and introducing her to her husband, dance teacher
          Mitchell Taylor Button.
                                                                                                                                                        Laken Riley's killer's
                                                                                                                                                      cold reaction as judge
          She is anonymous in the lawsuit as Jane Doe 100, which also includes new claims from two other                                              reaches verdict in Georgia
          women.                                                                                                                                      student's murder




                                                                                                                                                        Richard Gere makes
                                                                                                                                                      'obscene gesture' at
                                                                                                                                                      Today's Savannah Guthrie
                                                                                                                                                      on live show
                                                                                                                                                      A stunned Savannah
                                                                                                                                                      instantly reacted




https://www.dailymail.co.uk/news/article-10039319/Boston-Ballets-former-star-dancer-hit-FIFTH-sex-attack-allegation.html[11/20/2024 12:45:56 PM]
Boston Ballet's former star dancer is hit by FIFTH sex attack allegation | Daily Mail Online
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                                                                                                                                             Psychiatrist drops
                                                                                                                                            bombshell testimony about
                                                                                                                                            Jordan Neely - after
                                                                                                                                            prosecutors tried to silence
                                                                                                                                            him from Daniel Penny's
                                                                                                                                            chokehold trial



                                                                                                                                           ADVERTISEMENT




          Jane Doe 100's attorney Sigrid McCawley has come forward to detail her client's claims against
          the Buttons.  

          The couple then allegedly plied the girl with booze and took her back to their home where Mitchell
          allegedly raped her inside a gun-lined room.

          Dusty was holding a gun and appeared to film the encounter, while the 'terrified' girl cried and
          begged for the abuse to stop, the suit claims.

          This marks the fifth alleged victim to come forward to accuse the couple of using their position of
                                                                                                                                              Michigan school meeting
          power in the dance world to sexually and emotionally abuse young female dancers.                                                  erupts into chaos as
                                                                                                                                            woman makes stunning
                                                                                                                                            claim about why
                                                                                                                                            'transphobic' wrestling
                                                                                                                                            coach was fired



                                                                                                                                              Roller skater drags dog-
                                                                                                                                            walker, 88, to her death
                                                                                                                                            after getting caught on her
                                                                                                                                            leash




                                                                                                                                              EXCLUSIVE
                                                                                                                                            Yellowstone star Kelly
                                                                                                                                            Reilly lands a major
                                                                                                                                            partnership that Beth
                                                                                                                                            Dutton would be proud of
                                                                                                                                            Joined high-profile brand



                                                                                                                                              Matt Gaetz's ex-
                                                                                                                                            girlfriend who testified in
                                                                                                                                            sex trafficking
                                                                                                                                            investigation is
                                                                                                                                            unmasked...and reacts to
                                                                                                                                            his attorney general nod



                                                                                                                                              The US states where a
                                                                                                                                            Victorian-era disease is
                                                                                                                                            spreading causing
                                                                                                                                            worrisome school
                                                                                                                                            outbreaks




                                                                                                                                           ADVERTISEMENT


                                                                                                                                                      To view this video please
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                                                                                                                                                   upgrading to a web browser that



                                                                                                                             +9
                                                                                                                      View gallery


          Boston Ballet's former star dancer has been hit with a fifth accusation of sexual abusing young dancers, as
          an alleged victim has come forward to claim the ballerina menaced her with a gun while her husband
          raped her. Dusty Button and husband Mitchell Taylor Button in 2018


          Details of the two other new claims made against the Buttons have yet to emerge.                                                    Horrifying moment
                                                                                                                                            'perverse' doctor is caught
                                                                                                                                            naked on camera
                                                                                                                                            performing sexual acts in
          On July 28, a lawsuit was brought by two professional dancers Sage Humphries and Gina                                             front of colleagues at his
          Menichino accusing Mitchell of sexual assaulting them and Dusty of aiding her husband in his                                      practice

          abuse.
                                                                                                                                              DEAR JANE: My
          In the original suit, filed in US District Court in Nevada, Mitchell was the only person named as a                               husband's
                                                                                                                                            extreme bedroom problem
          defendant, with Dusty mentioned as an alleged predator.                                                                           is ruining my life

          Since then, three more alleged victims have come forward and joined the expanded lawsuit filed
          last week. All three of those women have named Dusty as a defendant.
                                                                                                                                              Bill Belichick 'picks
          In the expanded suit, first reported by the Boston Globe, Jane Doe 100 claims she met Dusty back                                  surprise NFL team he
                                                                                                                                            wants to return to
          in 2014 when the girl was attending at Boston-based dance school Urbanity Dance.                                                  coaching with' a year after
                                                                                                                                            leaving Patriots

          It is not clear how old Jane Doe 100 was at the time of the alleged abuse, but she says she was a
          minor. The age of consent in Massachusetts is 16.
                                                                                                                                             Harry Styles attends
          The girl was part of the apprenticeship program which is designed for talented high school students                               Liam Payne's funeral with




https://www.dailymail.co.uk/news/article-10039319/Boston-Ballets-former-star-dancer-hit-FIFTH-sex-attack-allegation.html[11/20/2024 12:45:56 PM]
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                                                                                                                                            One Direction bandmates:
          aged 14 and over who are wanting to make a career out of dance.                                                                   He and Zayn Malik, Niall
                                                                                                                                            Horan and Louis
                                                                                                                                            Tomlinson say goodbye
          Urbanity Dance rented studio space from Boston Ballet at the time and Dusty - who became
          Boston Ballet's principal dancer that same year - allegedly befriended the girl then.
                                                                                                                                              Police 'make major
                                                                                                                                            breakthrough' in Patrick
          According to the suit, Dusty gained the girl's 'loyalty and trust' and introduced her to Mitchell.                                Mahomes and Travis
                                                                                                                                            Kelce burglaries
                                                                                                                                            investigation
                                                                                                                                            Taylor Swift's boyfriend's
          SHARE THIS                        RELATED ARTICLES                                                                                mansion was targeted
          ARTICLE
                                                            Boston Ballet's former star               Aaliyah's uncle says 'there
                                                            ballerina and her                         wouldn't have been a trial'             The Viagra diet: Forget
                                                                                                                                            those little blue diamonds,
                                                            instructor...                             if...
                                                                                                                                            I'm 62 and have a sex
                                                                                                                                            drive of a 20-year-old -
                                                                                                                                            here's how I did it without
                                                                                                                                            pills
          The couple allegedly promised to make the girl 'a star' if she spent time with them and did what
          they said.
                                                                                                                                              Europe prepares for
          Then, according to the suit, the couple allegedly took her to a party in Boston and forced her to                                 WW3: Now Germany
                                                                                                                                            reveals plans to mobilise
          drink a lot of alcohol to get her drunk.                                                                                          national defence and
                                                                                                                                            800,000 NATO troops after
                                                                                                                                            Kremlin nuke threat - as
          The Buttons then allegedly took her back to their home in Somerville and led her inside a room                                    US announces new weapon
                                                                                                                                            K...
          which was filled with guns.
                                                                                                                                              Terrifying moment wild
                                                                                                                                            tiger gives farmer the
          At this point, the couple pushed the child onto a mattress, the suit claims.                                                      fright of his life

          Dusty kissed and touched the girl while restraining her on the mattress while her husband began
          sexually assaulting her, the suit claims.   

          The suit says the girl 'began to cry' and told them 'no' and 'stop' but her abusers continued with                                  Woman stuns
                                                                                                                                            homeowners by revealing
          Dusty restraining her while Mitchell 'forcibly penetrated' her.                                                                   simple dishwasher hack


          At one point, the suit claims Dusty had a gun in her hand while, at another point, Dusty appeared
          to suggest she was filming the incident by holding up her phone.  

          The encounter left the underage girl 'terrified', the suit says.                                                                   Pregnant Gisele
                                                                                                                                            Bundchen displays her
                                                                                                                                            bump at the gym ahead of
          The alleged victim, who now lives in New Hampshire and is no longer following a career in dance,                                  arrival of first child with
                                                                                                                                            Joaquim Valente
          told DailyMail.com in a statement she was 'grateful' to the first women who came forward and                                      Brazilian supermodel is
                                                                                                                                            expecting another child
          gave her the 'courage' to speak out.
                                                                                                                                           ADVERTISEMENT




                                                                                                                                             Dramatic moment home
                                                                                                                                            explodes in Ohio, killing 2
                                                                                                                                            people




                                                                                                                             +9               How Kyle Richards tried
                                                                                                                                            to 'hook-up' with Kevin
                                                                                                                      View gallery          Costner in Aspen after
                                                                                                                                            rumored lesbian fling with
                                                                                                                                            Morgan Wade
          An expanded lawsuit was filed late last week adding three more alleged victims to the lawsuit accusing the                        The Yellowstone star is




https://www.dailymail.co.uk/news/article-10039319/Boston-Ballets-former-star-dancer-hit-FIFTH-sex-attack-allegation.html[11/20/2024 12:45:56 PM]
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          Buttons of abusing young dancers. Pictured Dusty Button in Boston Ballet's production of William                                  newly single
          Forsythe's The Second Detail
                                                                                                                                              Trump's incoming
          'I am grateful to my fellow dancers for bravely bringing this action and for giving me the courage                                border czar Tom Homan
                                                                                                                                            issues thinly-veiled threat
          to come forward and speak out about the abuse I endured,' she said.                                                               to Boston's far-left mayor
                                                                                                                                            Michelle Wu

          'Together we can stop the accused — our abusers —- from ever damaging another young,
          vulnerable dancer.'
                                                                                                                                              I investigated Ann
                                                                                                                                            Selzer's botched Iowa poll
          The two other alleged victims to join the suit allege Mitchell sexually assaulted them when he was                                showing Trump losing.
          a dance instructor at Centerstage Dance Academy in Tampa.                                                                         This is why she got it all so
                                                                                                                                            shockingly wrong, writes
                                                                                                                                            top White House pollster
          Both were under 18 at the time of the alleged abuse, which is the age of consent in the Sunshine
          State.  
                                                                                                                                              Can YOU find the
                                                                                                                                            misspelled word in this
          Attorney Sigrid McCawley, who is representing the five accusers, said Dusty would 'coax' the                                      mindboggling brainteaser
                                                                                                                                            in 35 seconds?
          victims in for her husband to use as 'prey.'

          'What you have here is the highest level of betrayal,' McCawley told the Globe.

                                                                                                                                              Social media left stunned
          'You see the use of a famous female ballerina to coax these victims into a situation where they                                   by man's brutal football
          become prey for this serial abuser.'                                                                                              hit on bikini-clad woman
                                                                                                                                            at the beach

          She said other alleged victims may also come forward and join the suit.  

          'In an instance like this, where you have a serial abuser, you oftentimes see other women feeling
                                                                                                                                              Florida housing crisis
          empowered enough to come forward and say, 'me, too,'' said McCawley.                                                              escalates in five major
                                                                                                                                            cities as sales plummet
          'Each one of these ballerinas wants this abuse to stop.'  

          Marc Randazza, an attorney for the Buttons, told the Globe they deny the allegations.
                                                                                                                                             New Yorkers react to
          'Our position remains the same. We look forward to clearing both of their names in court,' he said.                               Barron Trump's voice

          'We are not trying this matter in the press. We do find it interesting that the press has the complaint
          before Ms. Button has even been served. Maybe that should inspire some cynicism.'

          In a statement last month, attorney Ken Swartz said his clients 'categorically deny these baseless
                                                                                                                                              Jelly Roll opens up about
          claims and they look forward to the opportunity through court proceedings to disprove all of the                                  losing 110 pounds after
                                                                                                                                            ditching tour culture of
          plaintiffs' false and fraudulent allegations.'                                                                                    'alcohol and drugs'
                                                                                                                                            The musician has
                                                                                                                                            overhauled his lifestyle



                                                                                                                                              Doctors said my shoulder
                                                                                                                                            pain was a pulled muscle -
                                                                                                                                            it was actually late-stage
                                                                                                                                            cancer at 32...here are the
                                                                                                                                            subtle warning signs I
                                                                                                                                            missed



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          Sage Humphries was one of two first accusers to file a lawsuit back in July 28 in Nevada




                                                                                                                      View gallery


          Sage Humphries was one of two first accusers to file a lawsuit back in July 28 in Nevada                                            Braless Kim Kardashian
                                                                                                                                            'disturbs' fans as she strips
                                                                                                                                            down to stockings and
                                                                                                                                            straddles Elon Musk's
                                                                                                                                            $30K Tesla Bot in bizarre
                                                                                                                                            photoshoot



                                                                                                                                               EXCLUSIVE How
                                                                                                                                            Taylor Swift consoled
                                                                                                                                            Brittany Mahomes after
                                                                                                                                            'disturbing' Kermit the
                                                                                                                                            frog gesture
                                                                                                                                            They're the WAGs of the
                                                                                                                                            NFL stars


                                                                                                                                              Miley Cyrus strips down
                                                                                                                                            to her lingerie as she
                                                                                                                                            announces new album
                                                                                                                                            while talking Dolly Parton
                                                                                                                                            and Gen Z beau
                                                                                                                                            Miley posed braless



                                                                                                                                              Parents' fury as seven-
                                                                                                                                            year-old boy is 'hanged' in
                                                                                                                                            school bathroom by fourth
                                                                                                                                            grade 'bully'




                                                                                                                                           ADVERTISEMENT




                                                                                                                             +9
                                                                                                                      View gallery


          Gina Menichino, a dancer from New Jersey, was the second woman in the original lawsuit


          Mitchell's legal team previously filed a motion to dismiss the original complaint but it was
          denied.  

          DailyMail.com has reached out to both McCawley and Randazza for statements.

          A spokesperson for Urbanity Dance told the Globe it did not know about the alleged abuse until
          now and that they were 'shocked and deeply saddened' to learn of it.




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          'We are shocked and deeply saddened to have learned of these allegations today and are devastated
          by the pain this young dancer experienced,' the company said in a statement.

          'We unequivocally condemn the predatory, cowardly behavior of perpetrators of sexual abuse. We
          stand in solidarity with this young woman and applaud her bravery in coming forward to share her
          truth.'

          The first allegations against the couple were made by Humphries and Menichino in the original
          suit filed July 28.

          The lawsuit alleges that on multiple occasions, Dusty held down Humphries so she could not move
                                                                                                                                              Hollywood nepo-baby,
          while her husband violently penetrated the young woman without her consent, including in her                                      26, looks just like her
          sleep.                                                                                                                            famous father as she
                                                                                                                                            attends Gladiator II
                                                                                                                                            premiere - but can you
          In one instance, as alleged in the complaint, the Buttons ordered Humphries to don a head-to-toe                                  guess who she is?

          spandex suit, tied her to a table in a room filled with guns and sexually assaulted her as she
          screamed and cried.                                                                                                                The truth about Kristin
                                                                                                                                            Cavallari's fling with
                                                                                                                                            Jason Statham after she
          Humphries, now 23, told the New York Times in an interview that the Buttons had 'complete                                         called him her 'hottest
          control' over her while she was a young dancer at Boston Ballet II, the company's apprenticeship                                  hookup'
                                                                                                                                            The Hills alum revealed her
          program.                                                                                                                          hot hookup


                                                                                                                                              Fans shocked by
                                                                                                                                            Housewives' star
                                                                                                                                            SMOKING on TV after
                                                                                                                                            revealing 'toxic' split from
                                                                                                                                            'alcoholic' husband
                                                                                                                                            Real Housewives of Beverly
                                                                                                                                            Hills star


                                                                                                                                              Sunny Hostin looks
                                                                                                                                            dejected as she is forced to
                                                                                                                                            read out awkward memo
                                                                                                                                            on The View just minutes
                                                                                                                                            after trashing Matt Gaetz
                                                                                                                                            The View co-host



                                                                                                                                             Awkward moment
                                                                                                                                            Lauren Sanchez calls out
                                                                                                                                            Today hosts for asking
                                                                                                                                            about her wedding to Jeff
                                                                                                                                            Bezos




                                                                                                                             +9               Diddy's chilling
                                                                                                                      View gallery          handwritten 'to do list' for
                                                                                                                                            family member seized in
                                                                                                                                            jail cell raid as judge
          The two other alleged victims to join the suit allege Mitchell sexually assaulted them when he was a dance                        makes bombshell ruling
          instructor at Centerstage Dance Academy in Tampa (above)


          The complaint states that Humphries, who was new to Boston at the time and had no family or                                        Grandma sparks viral
          friends in the city, first met Dusty, then a world-renowned prima ballerina, and her dance                                        debate after confessing she
                                                                                                                                            does not want to be around
          instructor husband in 2016.                                                                                                       her grandkid


          The Buttons befriended the young dancer in early 2017 and soon began inviting her over to their
          home, where Humphries was expected to drink heavily, according to the complaint.  
                                                                                                                                              Ousted Squad member
                                                                                                                                            Jamaal Bowman branded
          It is alleged in the explosive complaint that 'the Buttons abuse their positions of power and prestige                            'racist' after going on
          in the dance community to garner the loyalty and trust of young dancers. The Buttons then exploit                                 bizarre rant about Star
                                                                                                                                            Wars franchise
          those relationships to coerce sexual acts by means of force and fraud.'

          'The Buttons also began to insist that Sage sleep at their apartment on a regular basis,' the lawsuit
                                                                                                                                              Will Trump forgive your
          alleges. 'The Buttons instructed Sage to wear their clothes and style her hair to match Dusty's hair.'                            student loans? How the
                                                                                                                                            president-elect could deal
                                                                                                                                            with college debt
          Mitchell allegedly told Humphries that if she agreed to hand over control of her social media
          accounts to him, including her passwords and access to her text messages and email, he would
          make her as famous as his wife.   
                                                                                                                                              Malnourished seven-
          'If Sage ever attempted to distance herself or disobey the Buttons, they would threaten to revoke                                 year-old girl's
                                                                                                                                            heartbreaking final words
          their financial support and sabotage her career,' the complaint alleges.                                                          to neighbor who fed her
                                                                                                                                            chicken nuggets before
                                                                                                                                            returning to monster
          One evening, the Buttons and Humphries were lying on a mattress together watching a movie                                         parents who 'glued her
          when Mitchell sexually assaulted his young protégé after his wife dozed off, according to the                                     mouth sh...

          complaint.                                                                                                                             LIVE Harry Styles
                                                                                                                                            attends Liam Payne's
                                                                                                                                            funeral with One Direction
          'Any time Sage attempted to develop other friendships and spend time apart from the Buttons, the                                  bandmates to say goodbye
                                                                                                                                            to their friend
          Buttons would become enraged,' the lawsuit alleges.                                                                               Stars have turned up to pay
                                                                                                                                            their respects
          On one occasion, Mitchell allegedly forced Humphries to preform oral sex on him as punishment
          for having lunch with a group of women.                                                                                          ADVERTISEMENT


          The lawsuit alleges that the Buttons insisted that Humphries 'prioritize them over her family,' and
          even joined her on a trip to California to visit her parents 'she she could not be alone with her
          family.'




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          After returning to Boston, the sexual abuse intensified, according to the lawsuit.

          Sage Humphries                                                       Gina Menichino




                                                                +9                                                           +9
                                                         View gallery                                                 View gallery


          Boston Ballet dancer Sage Humphries (left) and professional dancer Gina Menichino (right) together filed
                                                                                                                                              Morning Joe host reveals
          the lawsuit against Mitchell Button in July                                                                                       'takeaway' from his
                                                                                                                                            controversial meeting with
                                                                                                                                            Trump as fallout continues




                                                                                                                                              Donald Trump issues
                                                                                                                                            fresh demands in his hush
                                                                                                                                            money case with weeks
                                                                                                                                            until he is in office




                                                                                                                                              I'm a mom to a nine-
                                                                                                                                            year-old furry... how do I
                                                                                                                                            stop her odd obsession?




                                                                                                                                              King Charles is joined by
                                                                                                                                            a dazzling Queen Camilla
                                                                                                                                            and a rugged Prince
                                                                                                                                            William at Buckingham
                                                                                                                                            Palace's glittering
                                                                                                                                            Diplomatic Corps
                                                                                                                                            reception


                                                                                                                                              Hard-partying sex life of
                                                                                                                                            former MTV reality star
                                                                                                                                            Sean Duffy resurfaces
                                                                                                                                            after Trump nominates
                                                                                                                                            him to Cabinet as
                                                                                                                                            Transportation Secretary



                                                                                                                                              The tacky Christmas
                                                                                                                                            decor that makes your
                                                                                                                                            home look CHEAP:
                                                                                                                                            Experts reveal the popular
                                                                                                                                            staples that are OUT - but
                                                                                                                                            this very surprising hand-
                                                                                                                                            knitted item is a mus...


                                                                                                                                              California REJECTS
                                                                                                                                            minimum wage increase
                                                                                                                             +9             bill in latest sign of fed-up
                                                                                                                      View gallery          residents swinging to the
                                                                                                                                            right

          Humphries claims in the lawsuit the Buttons had complete control over her and isolated her from family
          and friends
                                                                                                                                              Huge news: Audible
                                                                                                                                            audiobooks are now
          'One evening, Sage went to the Buttons' apartment after rehearsal, and the apartment was                                          included with Amazon
          completely dark,' reads the complaint. 'Dusty and [Mitchell] demanded that Sage put on a spandex                                  Music Unlimited, and
                                                                                                                                            you'll get three months
          suit that covered her entire body, including her mouth and eyes, and left only her nose and ears                                  FREE when you sign up
                                                                                                                                            today!
          exposed.                                                                                                                          SHOPPING

                                                                                                                                              Jason Statham's fiancee
          'Dusty led Sage into a room of the Buttons' apartment that had an arsenal of guns hanging on the                                  Rosie Huntington-
          wall. Sage told the Buttons she was scared. They instructed her to lie down on a table, and they                                  Whiteley looks sensational
                                                                                                                                            in Vogue Czech's cover
          tied up her arms and legs so she was unable to move. The Buttons then sexually assaulted Sage.                                    shoot after Kristin
                                                                                                                                            Cavallari revealed 'hot
                                                                                                                                            hookup' with actor
          'Sage began sobbing and screaming, begging the Buttons to untie her. The Buttons told her she was
          being weak and stupid.'                                                                                                             Kate Hudson approved
                                                                                                                                            luxury skincare brand
                                                                                                                                            Elemis is MAJORLY on
          After that incident, Mitchell allegedly began having sex with his protégé 'whenever he pleased,'                                  sale for Black Friday and
          including sometimes while she was sleeping.                                                                                       with this code you can
                                                                                                                                            shop products for as low as
                                                                                                                                            $28




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          '[Mitchell] regularly shoved Sage to the ground or on the bed and violently penetrated her without                                SHOPPING

          her consent,' claims the complaint. 'On several occasions, Dusty held Sage down while [Mitchell]                                 ADVERTISEMENT
          penetrated her so that Sage could not move.'

          During sex, the dance instructor allegedly would 'choke, slap and pull' Humphries' hair, leaving her
          covered in bruises.  

          'The Buttons also regularly used painful sex toys on Sage and would tie Sage up in order to have
          sex with her,' the lawsuit contends. 'Sage never consented to these violent sex acts.'

          By May 2017, the Buttons allegedly forced Humphries to live with them full time. They did not
          charge her rent and paid for her meals and personal expenses, rendering her financially dependent
          on the couple.

          'If Sage ever attempted to distance herself or disobey the Buttons, they would threaten to revoke
          their financial support and sabotage her career,' according to the lawsuit.

          Eventually, Humphries' parents became
          concerned with her living situation and forced
          her to return home.

          Mitchell continued communicating with
          Humphries on Snapchat. At one point, he
          allegedly told her he wanted to rape the woman
          and leave her to die in a warehouse, and also
          threatened to travel to California and slit her
          father's throat.

          In August 2017, Humphries sought and
          received abuse protection orders against the
          Buttons.
                                                                                                                                              Inside the dark past of
                                                                                                                                            Prince Harry's 'tattoo
          The Boston Ballet has issued a statement                                                                                          artist': Jelly Roll was
                                                                                                                                            arrested 40 times and
          expressing support for Humphries, who is still                                                                                    committed armed robbery
                                                                                                                                            aged 15 before turning his
          part of the company.                                                                                                              life around after becoming
                                                                                                                                            a father
          'Boston Ballet supports Sage Humphries who is
                                                                                                                                              Denzel Washington
          bravely coming forward, sharing her experience                                                                                    boasts new sober lifestyle
                                                                                                                                            after $10K wine cellar
          to protect others, and seeking accountability                                                                                     caused him to drink two
                                                                                                                                            bottles DAILY
          and justice,' the statement read.                                                                                                 Denzel Washington revealed
                                                                                                                                            his lifestyle
          According to the dance company, Dusty
          Button's employment with the Boston Ballet                                                                                          Gigi Hadid's father
                                                                                                                             +9             Mohamed, 76, loving gazes
          was terminated in May 2017.                                                                                 View gallery
                                                                                                                                            at girlfriend Keni Silva, 41,
                                                                                                                                            as she steps out in
                                                                                                                                            dramatic white gown for a
          The federal lawsuit also details allegations of                      Boston Ballet's former principal dancer Dusty                film screening in LA
                                                                                                                                            Real estate magnate
          sexual abuse from a decade ago targeting                             Button (pictured) and her husband deny the
          Mitchell Button's former dance student Gina                          allegations
                                                                                                                                              Jennifer Aniston has
          Menichino.                                                                                                                        gone to the dogs with her
                                                                                                                                            latest product launch that
                                                                                                                                            includes 'yogurt probiotic'
          According to the complaint, Button, who at the time went by the name Taylor Moore and worked                                      Jennifer Aniston has a new
                                                                                                                                            product to chat up
          as a dance instructor at a studio in Tampa, Florida, began grooming Menichino for abuse when she
          was 13 years old and he was 25.
                                                                                                                                              Taylor Swift is recording
          'Taylor took a special interest in Gina and would single her out for special attention and                                        a new song with a famous
                                                                                                                                            rapper according to DJ
          opportunities in dance class, such as allowing her to assistant teach his dance classes,' alleges the                             Snake
                                                                                                                                            Inside Taylor's new and
          complaint.                                                                                                                        surprising collaboration


          On two separate occasions in 2010, Button allegedly sexually assaulted Menichino while the two
          were sharing a blanket while watching a movie with other dance students.                                                            Alec Baldwin was 'not
                                                                                                                                            invited' to emotional Rust
                                                                                                                                            premiere where cast and
          Button then began regularly 'sexting' the young girl, including sending her shirtless photos of                                   crew wept over Halyna
                                                                                                                                            Hutchins
          himself and videos showing him pleasuring himself, the suit claims. He also solicited similar                                     Following the trial over
                                                                                                                                            Halyna's tragic death
          content from Menichino.
                                                                                                                                              Hoda Kotb speaks out
          'Taylor used his position of power and authority over Gina to force her to comply with his sexual                                 after Cher's shocking live
                                                                                                                                            TV gaffe on Today
          demands,' according to the lawsuit.                                                                                               After Hoda's TV interview
                                                                                                                                            with Cher derailed
          If the 13-year-old resisted her teacher's sexual advances, Button allegedly threatened to hurt her
          dance career.   
                                                                                                                                              Make the holidays
          'The whole game was to keep him happy,' Menichino, now 25, told the Times. 'Don't get him                                         sparkle this year with 25%
                                                                                                                                            off personalized (yet
          angry, or I was unworthy and I would lose my dance career.'                                                                       affordable!) jewelry from
                                                                                                                                            Mint & Lily when you
                                                                                                                                            shop using this exclusive




https://www.dailymail.co.uk/news/article-10039319/Boston-Ballets-former-star-dancer-hit-FIFTH-sex-attack-allegation.html[11/20/2024 12:45:56 PM]
